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                            7
                            8                           UNITED STATES DISTRICT COURT
                            9                                DISTRICT OF NEVADA
                           10
                                     Melissa Sandberg,                                   Case No.: 2:17-cv-01840
                           11
                                                     Plaintiff,                          Complaint For Damages Under
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                           12
                                     v.                                                  the Fair Debt Collection Practices
   7854 W. Sahara Avenue
    Las Vegas, NV 89117




                           13                                                            Act, 15 U.S.C. § § 1692 et seq.
                                     FMMR Investments Inc., d/b/a
                           14
                                     Rapid Cash; and Kravitz, Schnitzer                  Jury Trial Demanded
                           15        & Johnson, Chtd.,
                           16
                                                     Defendants.
                           17
                           18
                           19
                           20                                            INTRODUCTION
                           21   1.        The United States Congress has found abundant evidence of the use of
                           22             abusive, deceptive, and unfair debt collection practices by many debt
                           23             collectors, and has determined that abusive debt collection practices
                           24             contribute to the number of personal bankruptcies, to marital instability, to the
                           25             loss of jobs, and to invasions of individual privacy. Congress wrote the Fair
                           26             Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter
                           27             “FDCPA”), to eliminate abusive debt collection practices by debt collectors,
                           28             to insure that those debt collectors who refrain from using abusive debt

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                            1         collection practices are not competitively disadvantaged, and to promote
                            2         consistent State action to protect consumers against debt collection abuses.
                            3   2.    Melissa Sandberg (“Sandberg” or “Plaintiff”), through counsel, brings this
                            4         suit to challenge the actions of FMMR Investments, Inc. d/b/a Rapid Cash
                            5         (“Rapid Cash”) and Kravitz, Schnitzer & Johnson, Chtd. (“KSJ” and together
                            6         with Rapid Cash as the “Defendants”) with regard to their attempts to
                            7         unlawfully and abusively collect a debt alleged owed by Sandberg, causing
                            8         Sandberg harm.
                            9   3.    Sandberg makes these allegations on information and belief, with the
                           10         exception of those allegations that pertain to Sandberg, or to Sandberg’s
                           11         counsel, which Sandberg alleges on personal knowledge.
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                           12   4.    While many violations are described below with specificity, this Complaint
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                           13         alleges violations of the statutes cited in their entirety.
                           14   5.    Unless otherwise stated, all the conduct engaged in by Defendants took place
                           15         in Nevada.
                           16   6.    Any violations by Defendants were knowing, willful, and intentional, and
                           17         Defendants did not maintain procedures reasonably adapted to avoid any such
                           18         violation.
                           19   7.    Unless otherwise indicated, the use of Defendants’ name in this Complaint
                           20         includes all agents, employees, officers, members, directors, heirs, successors,
                           21         assigns, principals, trustees, sureties, subrogees, representatives, and insurers
                           22         of Defendants named.
                           23                                              THE PARTIES
                           24   8.    Sandberg is a natural person who resides in the State of Nevada, County of
                           25         Clark, City of Las Vegas.
                           26   9.    Sandberg is a natural person allegedly obligated to pay a debt, and is a
                           27         consumer as that term is defined by 15 U.S.C. § 1692a(3).
                           28

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                            1   10.    Rapid Cash is a domestic corporation organized and existing by virtue of the
                            2          laws of the State of Nevada and registered with the Nevada Secretary of State.
                            3          Rapid Cash conducts business in the State of Nevada, County of Clark, City
                            4          of Las Vegas.
                            5   11.    Upon information and belief, Rapid Cash’s website is http://
                            6          www.speedycash.com.
                            7   12.    Rapid Cash is in the business of lending consumers high interest loans—
                            8          438.796% APR in this case.
                            9   13.    KSJ is a domestic professional corporation organized and existing by virtue of
                           10          the laws of the State of Nevada and registered with the Nevada Secretary of
                           11          State. KSJ conducts business in the State of Nevada, County of Clark, City of
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                           12          Las Vegas.
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                           13   14.    Upon information and belief, KSJ’s website is http://www.ksjattorneys.com.
                           14   15.    KSJ conducts collection efforts on behalf of Rapid Cash, including by filing
                           15          debt collection lawsuits and collecting payments on behalf of Rapid Cash.
                           16   16.    Defendants are persons who use instrumentalities of interstate commerce or
                           17          the mails in a business the principal purpose of which is the collection of
                           18          debts, or who regularly collect or attempt to collect, directly or indirectly,
                           19          debts owed or due or asserted to be owed or due another and is therefore a
                           20          debt collector as that phrase is defined by 15 U.S.C. § 1692a(6).
                           21                                     JURISDICTION AND VENUE
                           22   17.    Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331 (federal
                           23          question jurisdiction) and 28 U.S.C. § 1367 (supplemental jurisdiction).
                           24   18.    This action arises out of Defendants violations of the Fair Debt Collection
                           25          Practices Act, 15 U.S.C. §§ 1692 et seq. (“FDCPA”).
                           26   19.    Rapid Cash is subject to personal jurisdiction in Nevada, as it conducts
                           27          business in Nevada and is listed with the Nevada Secretary of State as a
                           28          domestic corporation.

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                            1   20.    KSJ is subject to personal jurisdiction in Nevada, as it conducts business in
                            2          Nevada and is listed with the Nevada Secretary of State as a domestic
                            3          professional corporation.
                            4   21.    Venue is proper pursuant to 28 U.S.C. § 1391 because all the conduct giving
                            5          rise to this complaint occurred in Nevada.
                            6   22.    At all times relevant, Defendants conducted business within the State of
                            7          Nevada.
                            8                                       FACTUAL ALLEGATIONS
                            9   23.    On or about July 3, 2016, Rapid Cash offered Sandberg a three separate high-
                           10          interest loans (the “Loans”).
                           11   24.    The Loans were “high interest loan[s]” as defined by NRS 604A.0703
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                           12          because they bore an annual percentage rate of more than 40 percent.
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                           13   25.    Sandberg and Rapid Cash entered into three separate loan agreements (the
                           14          “Loan Agreement” or “Loan Agreements”) in or about July 2016.
                           15   26.    Under one of the Loan Agreements, Rapid Cash loaned $5,000 to Sandberg.
                           16   27.    Under the Loan Agreement for the $5,000 loan, Sandberg was required to
                           17          make payments of $2,633.98 per month.
                           18   28.    Under a second Loan Agreement, Rapid Cash loaned $2,500 to Sandberg.
                           19   29.    Under the Loan Agreement for the $2,500 loan, Sandberg was required to
                           20          make payments of $1371.32 per month.
                           21   30.    Under a third Loan Agreement, Rapid Cash loaned $2,000 to Sandberg.
                           22   31.    Under the Loan Agreement for the $2,000 loan, Sandberg was required to
                           23          make payments of $1087.96 per month.
                           24   32.    Thus, from July through September 2016, Plaintiff was allegedly obligated to
                           25          pay Rapid Cash $5,093.26 per month.
                           26   33.    NRS 604A.425(1)(b) dictates that the monthly payment of a high-interest loan
                           27          may not exceed 25 percent of the borrower’s monthly income.
                           28

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                            1   34.    Sandberg’s income during the relevant period, however, was only
                            2          approximately $7,000 gross per month.
                            3   35.    Still, Rapid Cash illegally sought monthly payments of $5,093.26 from
                            4          Plaintiff.
                            5   36.    Payments of $5,093.26 clearly exceeds 25 percent of Sandberg’s monthly
                            6          income and Rapid Cash thus violated NRS 604A.
                            7   37.    Defendant’s knew that the amount that Rapid Cash sought from Plaintiff
                            8          violated the law because they knew that payments of $5,093.26 would exceed
                            9          25 percent of Sandberg’s monthly gross income.
                           10   38.    Sandberg allegedly fell behind in payments under one of the Loan
                           11          Agreements, and defaulted on the Debt.
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                           12   39.    Soon thereafter, Rapid Cash and KSJ filed a complaint against Sandberg in
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                           13          Justice Court, Las Vegas Township, bearing case number 17C007951, in an
                           14          attempt to collect a debt under the Loan Agreements.
                           15   40.    NRS 604A.900 provides a loan agreement “is void and the licensee is not
                           16          entitled to collect, receive or retain any principal, interest or other charges or
                           17          fees with respect to the loan” if the licensee willfully violates the provisions
                           18          of NRS Chapter 604A.
                           19   41.    Rapid Cash willfully violated NRS 604A.425 by providing loans to Sandberg
                           20          that exceeded the maximum amount allowable by law because Defendants
                           21          knew that the monthly payments exceeded Plaintiff’s monthly income.
                           22   42.    Since Defendants willfully violated NRS 604A.425, the Loan Agreements
                           23          were void and neither Rapid Cash nor KSJ was authorized to collect any
                           24          monies due under the Loan Agreement or to file the collection lawsuit against
                           25          Plaintiff.
                           26   43.    Because the Loan Agreements are void, Defendants violated the Fair Debt
                           27          Collection Practices Act (the “FDCPA”) by falsely representing the legal
                           28

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                            1          status of the debt associated with the Loan Agreement, and by attempting to
                            2          collect a debt that Defendants were not entitled to collect.
                            3                                      FIRST CAUSE OF ACTION
                            4                                     VIOLATIONS OF NRS 604A
                            5   44.    Sandberg repeats, re-alleges, and incorporates by reference all above
                            6          paragraphs.
                            7   45.    Rapid Cash caused damages to Sandberg by providing Sandberg high-interest
                            8          loans that exceeded 25 percent of her income.
                            9   46.    NRS 604A.930 provides a private right of action for a violation of NRS
                           10          604A.425.
                           11   47.    The Loan Agreements fall under NRS 604A.425 because it is a high-interest
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                           12          loan.
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                           13   48.    The Loan Agreements are a violation of NRS 604A.425(1)(b) because the
                           14          loan amounts exceeded 25 percent of Sandberg’s monthly income.
                           15   49.    Sandberg has suffered actual and consequential damages due to Rapid Cash’s
                           16          conduct.
                           17   50.    As a result of Rapid Cash’s violation of NRS 604A, Sandberg is entitled to
                           18          recover actual damages, punitive damages and attorneys fees and costs
                           19          pursuant to NRS 604A.930.
                           20   51.    Further, as a result of Rapid Cash’s willful violation of NRS 604A, Sandberg
                           21          is entitled to declaratory relief that the loan is void pursuant to NRS 604A.
                           22          900.
                           23                                     SECOND CAUSE OF ACTION
                           24                  VIOLATIONS OF FAIR DEBT COLLECTION PRACTICES ACT
                           25                                      15 U.S.C. §§ 1692 ET SEQ.
                           26   52.    Sandberg repeats, re-alleges, and incorporates by reference all above
                           27          paragraphs.
                           28

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                            1   53.    Defendants’ conduct violated 15 U.S.C. § 1692e(2) in that Defendants made
                            2          false representations as to the legal status of the Debt.
                            3   54.    Defendants’ conduct violated 15 U.S.C. § 1692f in that Defendants attempted
                            4          to collect a debt for an amount they were not entitled to.
                            5   55.    The foregoing acts and omissions of Defendants constitute numerous and
                            6          multiple violations of the FDCPA, including every one of the above cited
                            7          provisions.
                            8   56.    Sandberg is entitled to damages as a result of Defendants’ violations.
                            9   57.    Sandberg suffered fear, stress, and anxiety because of Defendants’ actions and
                           10          has been required to retain the undersigned as counsel to protect her legal
                           11          rights to prosecute this cause of action, and is therefore entitled to actual
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                           12          damages under 15 U.S.C. § 1692k(a)(1), statutory damages in an amount up
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                           13          to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A) and reasonable
                           14          attorney’s fees and costs pursuant to 15 U.S.C. § 1692k(a)(3) from
                           15          Defendants.
                           16                                      PRAYER FOR RELIEF
                           17           Sandberg respectfully requests that this Court grant her the following relief
                           18   against Defendants:
                                          • Actual and consequential damages in an amount to be
                           19
                                             determined at trial under NRS 604A.930(1)(a);
                           20             • Punitive damages pursuant to NRS 604A.930(1)(b) and
                                             NRS 42.005;
                           21
                                          • Reasonable attorneys’ fees and costs pursuant to NRS 604A.
                           22                930(1)(c);
                                          • Declaratory judgment that the Loan Agreements are void,
                           23
                                             pursuant to NRS 604A.900;
                           24             • An award of actual damages pursuant to 15 U.S.C. §
                                             1692k(a)(1);
                           25
                                          • An award of statutory damages of $1,000 pursuant to 15
                           26                U.S.C. § 1692k(a)(2)(A);
                                          • An award of costs of litigation and reasonable attorney’s
                           27
                                             fees, pursuant to 15 U.S.C. § 1692k(a)(3); and
                           28             • Any other relief the Court may deem just and proper.

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                            1                                           TRIAL BY JURY
                            2   58.    Pursuant to the Seventh Amendment to the Constitution of the United States
                            3          of America, Sandberg is entitled to, and demands, a trial by jury.
                            4
                            5           DATED this 5th day of July 2017.
                            6                                                       Respectfully submitted,
                            7
                                                                                    KAZEROUNI LAW GROUP, APC
                            8
                            9                                                       By: /s/ Michael Kind
                                                                                    Michael Kind, Esq.
                           10
                                                                                    7854 W. Sahara Avenue
                           11                                                       Las Vegas, NV 89117
                                                                                    Attorneys for Plaintiff Melissa Sandberg
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